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                          EXHIBIT H
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                       Glendora Police Department




                          Select To Get Started:




                                               NEW Concealed Carry Weapon License




                            REQUEST A DUPLICATE of an existing Concealed Carry Weapon License




                                        MODIFY an existing Concealed Carry Weapon License




                             General Information
                             Learning the laws regulating the use of firearms is a must for responsible
                             ownership. Local regulations differ and laws vary from state to state.
                             Citizens must check with the jurisdiction where the firearm is to be used.

                             In California, the Police Department is required to follow strict state and
                             local guidelines when performing the necessary background checks for
                             issuing Concealed Carry Weapon licenses. Due to the detailed nature
                             involved with conducting these background checks, appointment times and
                             processing times vary. During the application process, the applicant will be

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                             asked to schedule an interview appointment for a new Concealed Carry
                             Weapon license and will have fingerprints taken at the Police Department.

                             If the applicant is RENEWING a Concealed Carry Weapon license in
                             the City of Glendora, they must apply no later than 90 days before the
                             expiration date listed on their current Concealed Carry Weapon
                             license. Any licenses issued by another agency must be renewed by
                             that agency or the applicant may submit a new application with the
                             Glendora Police Department for consideration. All outside agency
                             permit holders will be considered new applicants when applying with
                             the Glendora Police Department.

                             Please read the requirements section below to make sure you have all the
                             information required for applying for a Concealed Carry Weapon License.




                             Pricing:


                              Type of Permit               Standard 2 Year

                              Initial Fee                  $139.00
                              Paid on submission of your   inc. Application Fee - $26, DOJ Livescan
                              application                  Fee - $93.00, Rolling Fee - $20.00
                                                           An additional Non-Refundable $5 Service
                                                           and Credit Card Processing Fee will be
                                                           applied to the initial fee.


                              Issuance Fee                 $104.00
                              Paid upon the approval of
                              the application

                              Grand Total                  $243.00
                              The Grand Totals are a
                              rough estimate as rolling
                              fees vary.




                               For credit card transactions a nominal credit card transaction fee will
                               be charged for each transaction. Charges will be viewable prior to
                               transaction completion.
                               Appointments for Concealed Carry Weapon licenses are available for
                               booking through the system. The dates/times will vary based on
                               availability.
                               Click the appropriate button on the left of the screen to proceed with
                               an application for a Concealed Carry Weapon license.


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                             Gaining competency with firearms is like learning to drive a car or fly an
                             airplane. You need expert instruction and practice. There is no shortcut. If
                             you are not willing to invest the time and effort to become competent, then
                             having a firearm and trying to use it can, in many instances, be more
                             hazardous than any impending threat.




                             Please note that this website is optimized for Edge, Safari, Chrome
                             and Firefox.


                                                                                         CCW Information




                          Concealed Carry Weapon License Requirements: must
                          meet ALL requirements

                          For the complete Glendora PD CCW Policy, CLICK HERE




                          Authority

                          California Penal Code sections 26150 and 26155 provide that a Sheriff of a
                          county or the Chief or other head of municipal police department of any city, or
                          city and county, shall issue or renew a license to carry a pistol, revolver, or other
                          firearm capable of being concealed upon the person (Concealed Carry Weapon
                          license).

                          Who Shall be Issued a License

                          The licensing authority specified in Penal Code sections 26150 and 26155 shall
                          issue a license to persons who are not a disqualified person to receive such a
                          license, as determined in accordance with the standards set forth in Penal Code
                          26202, meet residential requirements, and have completed a course of training.
                          All applicants for a Concealed Carry Weapon license will be fingerprinted and
                          state and federal records will be checked to determine if they are eligible to
                          possess firearms. Click here to view all categories that would prohibit a person
                          from possessing firearms and being granted a Concealed Carry Weapon license.

                          Completing the Application

                          California Penal Code sections 26150 and 26155 provide that a sheriff of a
                          county or the chief or other head of a municipal police department of any city or
                          city and county shall issue a license to carry a pistol, revolver, or other firearm
                          capable of being concealed upon the person (CCW license). Penal Code section
                          26175 requires the Attorney General to prescribe a statewide standard

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                          application form for a CCW license. Answering all the questions on the
                          Application does not guarantee the issuance of a Concealed Weapon Permit. The
                          determination whether to issue the license is at the discretion of the licensing
                          authority. Pursuant to California Penal Code section 26160, each licensing
                          authority will have a written policy summarizing their requirements for issuance of
                          a Concealed Weapon Permit. In addition, prior to issuing a Concealed Weapon
                          Permit, the California State Statutes require proof that:

                                The applicant is not a disqualified person to receive such a license, as
                                determined in accordance with the standards set forth in Penal Code 26202;
                                The applicant is at least 21 years of age, and presents clear evidence of the
                                person’s identity and age, as defined in Penal Code 16400;
                                The applicant is a resident of that city or city and county. Prima facie
                                evidence of residency within the county or a city within the county includes,
                                but is not limited to, the address where the applicant is registered to vote,
                                the applicant’s filing of a homeowner’s property tax exemption, and other
                                acts, occurrences, or events that indicate presence in the county or a city
                                within the county is more than temporary or transient. The presumption of
                                residency in the county or city within the county may be rebutted by
                                satisfactory evidence that the applicant’s primary residence is in another
                                county or city within the county;
                                The course of training prescribed by the licensing authority has been
                                completed.
                                The applicant is the recorded owner, with the Department of Justice, of the
                                pistol, revolver, or other firearm for which the license will be issued.

                          Character References

                          You will need to provide the names and contact information of three persons
                          willing to serve as references. One of the three must be a person described in
                          Penal Code section 273.5, subdivision (b) (your spouse, or former spouse, your
                          cohabitant or former cohabitant, your fiancée, or someone with whom you have,
                          or previously had, an engagement or dating relationship, or the mother or father
                          of your child), if applicable. At least one of the three must be your cohabitant if
                          applicable.

                          Prior to Filling Out This Application

                                Be prepared to scan a copy of your valid California Driver’s license or
                                California Identification card, which reflects your current City of Glendora
                                address.
                                Be prepared to scan copies of two proof of residency documents - current
                                and consecutive utility bills/statements that are in your name and reflect
                                your current address in the City of Glendora. If utility bills/statements are in
                                your spouse’s name, we will accept them with proof of marriage or legal
                                domestic partnership. If you do not have utility bills in your name, residency
                                documentation provided must be a monthly recurring bill. Mortgage
                                statements and annual bills are NOT accepted as the primary proof of
                                residency document. Past due bills/statements are NOT accepted. For the
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                                secondary proof of residency document, any current documents listed on
                                the California DMV “Residency – Documents List” will be accepted. Click
                                here for the list.
                                Be sure that each firearm you plan on listing on your Concealed Carry
                                Weapon license is on record in the state of California in your name.

                          Training Required

                          If applying for a NEW Concealed Carry Weapon license a course approved by the
                          Glendora Police Department must be completed prior to permit issuance. This
                          course will be a minimum of 16 hours.This training is not required to be
                          completed until the applicant's fingerprint based criminal background check from
                          the California DOJ is received by the licensing authority. Once the licensing has
                          received verification from California DOJ that the applicant is not prohibited from
                          carrying a firearm, then the class may be taken.

                          If applying for a RENEWAL Concealed Carry Weapon license, a 8-hour
                          course approved by the Glendora Police Department must be completed prior to
                          permit issuance.

                          If applying for a MODIFICATION to your current Concealed Carry Weapon
                          license that includes a firearm change, address change, or name change, you will
                          need to submit updated proof of verification for each change, including training
                          certifications from a training vendor approved by the Glendora Police Department
                          as well as complete and sign DOJ Form BOF 4502. Please refer to the City of
                          Glendora Fee Schedule for the current fee for an amended license.

                                The Glendora Police Department recognizes only select training facilities to
                                satisfy your qualification certification. Training from any other facility will not
                                be accepted. Approved training facilities are listed HERE. The Glendora
                                Police Department accepts only those training providers listed as approved
                                by Los Angeles County Sheriff’s Department. For additional questions
                                regarding this process please contact the Glendora Police Department CCW
                                Coordinator by email mailto:ccw@glendorapd.org.



                          For More Information, Contact:
                          Glendora Police Department

                          Address:

                          150 S Glendora Ave
                          Glendora, CA 91741

                          Telephone:

                          626-852-5234 (message only line)

                          Email: ccw@glendorapd.org


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